Case 1:19-cv-02426-DLC Document 81 Filed 10/03/19 Page 1 of 4
Case 1:19-cv-02426-DLC Document 80 Filed 10/02/19 Page 1 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DOWNTOWN MUSIC PUBLISHING LLC,
OLE MEDIA MANAGEMENT, L.P., BIG
DEAL MUSIC, LLC, CYPMP, LLC, PEER
INTERNATIONAL CORPORATION, PSO
LIMITED, PEERMUSIC LTD., PEERMUSIC
Ill, LTD., PEERTUNES, LTD., SONGS OF
PEER LTD., RESERVOIR MEDIA
MANAGEMENT, INC., THE RICHMOND
ORGANIZATION, INC., ROUND HILL
MUSIC LLC, THE ROYALTY NETWORK,
INC., and ULTRA INTERNATIONAL MUSIC
PUBLISHING, LLC,

Plaintiffs and Counterclaim
Defendants, and

DEVON MUSIC, INC., ESSEX MUSIC, INC.,
ESSEX MUSIC INTERNATIONAL, INC.,
FOLKWAYS MUSIC PUBLISHERS, INC.,
HAMPSHIRE HOUSE PUBLISHING CORP.,,
HOLLIS MUSIC, INC., LUDLOW MUSIC,
INC., MELODY TRAILS, INC., MUSICAL
COMEDY PRODUCTIONS, INC., PALM
VALLEY MUSIC, LLC, WORDS & MUSIC,
INC., GREENSLEEVES PUBLISHING
LIMITED, ME GUSTA MUSIC, LLC, ROUND
HILL MUSIC LP, STB MUSIC, INC., and
TUNECORE, INC.,

Plaintiffs, and

NATIONAL MUSIC PUBLISHERS’
ASSOCIATION, INC.,

Counterclaim Defendant,
Vv.
PELOTON INTERACTIVE, INC.,

Defendant and Counterclaim
Plaintiff.

No, 19 CV 02426 (DLC)

 

 

 

 

 

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Case 1:19-cv-02426-DLC Document 81 Filed 10/03/19 Page 2 of 4
Case 1:19-cv-02426-DLC Document 80 Filed 10/02/19 Page 2 of 4

JOINT | AMENDED SCHEDULING ORDER

Plaintiffs Downtown Music Publishing LLC, Anthem Entertainment L.P. (f//a
ole Media Management, L.P.), Big Deal Music, LLC, CYPMP, LLC, doing business as Pulse
Music Group, Peer International Corporation, PSO Limited, Peermusic Ltd., Peermusic III, Ltd.,
Peertunes, Ltd., Songs of Peer, Ltd,, Greensleeves Publishing Limited, Me Gusta Music, LLC,
Reservoir Media Management, Inc., The Richmond Organization, Inc., Devon Music, Inc., Essex
Music, Inc., Essex Music International, Inc., Folkways Music Publishers, Inc., Hampshire House
Publishing Corp., Hollis Music, Inc., Ludlow Music, Inc., Melody Trails, Inc., Musical Comedy
Productions, Inc., Palm Valley Music, LLC, Words & Music, Inc., Round Hill Music LLC,
Round Hill Music LP, The Royalty Network, Inc., STB Music, Inc., TuneCore, Inc. and Ultra
International Music Publishing, LLC (collectively, the “Publishers”), Counterclaim Defendant
National Music Publishers’ Association, Inc. “SNMPA”) and Defendant Peloton Interactive, Inc.,
by and through their undersigned attorneys, hereby submit the following proposed amended
Scheduling Order.

A. Proposed Discovery Plan

1. Close of Fact Discovery: Fact discovery will close on March 6, 2020.

2, Expert Reports Due: Expert reports and disclosure of expert testimony
conforming to the requirements of Rule 26(a)(2)(B) by the party bearing the burden on an
issue will be due on April 10, 2020.

3. Rebuttal Expert Reports Due: Identification of rebuttal experts and
disclosure of their expert testimony will be due on May 15, 2020.

4, Close of Expert Discovery; Expert discovery will close on June 12,

2020.

 
Case 1:19-cv-02426-DLC Document 81 Filed 10/03/19 Page 3 of 4
Case 1:19-cv-02426-DLC Document 80 Filed 10/02/19 Page 3 of 4

5. Dispositive Motions Due: Any motion for summary judgment will be

served by July 3, 2020, Any opposition will be served by July 24, 2020. Any reply will

be due by August 7, 2020.

6. Joint Pretrial Order: In the event no dispositive motion is filed, a Joint

Pretrial Order will be filed by July 3, 2020.

As described in greater detail in this Court's Individual Practices in Civil Cases,

the following documents must be filed with the Pretrial Order: Voir Dire, Requests to Charge

and a Memorandum of Law addressing al] questions of law expected to arise at trial. Any

responsive papers are due one week thereafter. Counsel will provide the Court with two (2)

courtesy copies of all pretrial documents at the time of filing.

Dated: New York, New York
October 2, 2019

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Case 1:19-cv-02426-DLC Document 81 Filed 10/03/19 Page 4 of 4
Case 1:19-cv-02426-DLC Document 80 Filed 10/02/19 Page 4 of 4

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Attorneys for Peloton Interactive, Inc,

IT IS SO ORDERED this __ day of October, 2019

 

The Honorable Denise Cote
United States District Judge
